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                              EXHIBIT 13
         Case 2:21-cv-10163-GAD-APP ECF No. 28-14, PageID.1146 Filed 02/19/21 Page 2 of 3

                                                                                                                            PRICE QUOTE


                                                                                                                                             Quote 21565
                                                                                                                  Quote Date: Nov 13, 2020
                                                                                                               Quote Expiration: Nov 30, 2020
                                                                                                                          Sales Rep: Eric G.


       Company:                                           Ship To:                                                Bill To:

       Detroit Axle                                       Detroit Axle                                            Detroit Axle
       2000 Eight Mile Rd                                 2000 Eight Mile Rd                                      2000 Eight Mile Rd
       Ferndale, MI 48220                                 Ferndale, MI 48220                                      Ferndale, MI 48220



                                                Item                                                      Price                 Qty             Subtotal

            Refurbished Motorola MC55A Computer                                                              $                        5             $750.00

                                                                                                                                  Subtotal           $750.00

                                                                                                                                     Total         $750.00

     Ticket #464967 - 5 Additional Handhelds


     AGREED TO AND ACCEPTED:




                                  11/16/2020
     ___________________________ _____________________


     50% Due Upon Acceptance. This quote does not include shipping and tax. This quote is subject to the Terms and Conditions found on our website

     (www.detroitit.com/terms). These terms are considered to be the most recent and take precedent over any other previously written or implied terms and

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                       Signature Certificate
                  Document Ref.: BUPKE-9KSX2-V6RR7-VMDNL

   Document signed by:

                     Mark Freese
                     Verified E-mail:
                     mfreese@detroitaxle.com

                     IP: 174.230.4.209     Date: 16 Nov 2020 21:13:43 UTC



                         Document completed by all parties on:
                             16 Nov 2020 21:13:43 UTC
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